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                                      #:103


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   4
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   5   Fax:      (310) 372-3886
   6   Attorney for Redondo Beach Defendants
   7

   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10

  11   CHARLES NICHOLS,                     ) CASE NO: 2:11-cv-09916-SJO-SS
                                            )
  12               Plaintiff,               )
                                            ) [PROPOSED] ORDER GRANTING
  13        v.                              ) DEFENDANTS’ MOTION TO
                                            ) DISMISS FOR LACK OF SUBJECT
  14   EDMUND G. BROWN, JR., in his         ) MATTER JURISDICTION AND
       official capacity as Governor of     ) FAILURE TO STATE A CLAIM
  15   California, KAMALA D. HARRIS,        ) UPON WHICH RELIEF CAN BE
       Attorney General, in her official    ) GRANTED
  16   capacity as Attorney General of      ) (FRCP 12(b)(1) and 12(b)(6))
       California, CITY OF REDONDO          )
  17   BEACH, CITY OF REDONDO               ) Date:       March 6, 2012
       BEACH POLICE DEPARTMENT,             ) Time:       10:00 a.m.
  18   CITY OF REDONDO BEACH                ) Location: Courtroom 23 3rd Floor
       POLICE CHIEF JOSEPH                  ) Judge:      Hon. Suzanne H. Segal
  19   LEONARDI, and DOES 1 to 10,          ) Date Action Filed: November 20, 2011
                                            )
  20               Defendants.              )
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 [PROPOSED] ORDER                               1                    09-CV-2371 IEG (BGS)
Case 2:11-cv-09916-SSS-KES      Document 12-2      Filed 01/30/12     Page 2 of 3 Page ID
                                      #:104


   1                                           ORDER
   2         Defendants City of Redondo Beach, Redondo Beach Police Department, and
   3   Redondo Beach Police Chief Joseph Leonardi (collectively “Redondo Beach
   4   Defendants”)’s Motion to Dismiss the complaint in this matter came on regularly
   5   for hearing before this Court on March 6, 2012.
   6         Having considered the moving and opposition papers, arguments of counsel,
   7   and all other matters presented to the Court, the Court finds that Plaintiff has failed
   8   to allege sufficient facts establishing Article III standing and has also failed to state
   9   a claim upon which relief may be granted.
  10         IT IS HEREBY ORDERED that Redondo Beach Defendants’ Motion to
  11   Dismiss is GRANTED. The Complaint in this case is ordered dismissed [with]
  12   [without] prejudice.
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  14   IT IS SO ORDERED.
  15    Date: ___________, 2012
  16                                                   Hon. James S. Otero
                                                       United States District Court
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 [PROPOSED] ORDER                                  2                       09-CV-2371 IEG (BGS)
Case 2:11-cv-09916-SSS-KES      Document 12-2   Filed 01/30/12   Page 3 of 3 Page ID
                                      #:105


   1                        UNITED STATES DISTRICT COURT
   2                      CENTRAL DISTRICT OF CALIFORNIA
   3   CHARLES NICHOLS,                     ) CASE NO: 2:11-cv-09916-SJO-SS
                                            )
   4               Plaintiff,               )
                                            ) PROOF OF SERVICE
   5         v.                             )
                                            ) [PROPOSED] ORDER GRANTING
   6   EDMUND G. BROWN, JR., in his         ) DEFENDANTS’ MOTION TO
       official capacity as Governor of     ) DISMISS FOR LACK OF SUBJECT
   7   California, KAMALA D. HARRIS,        ) MATTER JURISDICTION AND
       Attorney General, in her official    ) FAILURE TO STATE A CLAIM
   8   capacity as Attorney General of      ) UPON WHICH RELIEF CAN BE
       California, CITY OF REDONDO          ) GRANTED
   9   BEACH, CITY OF REDONDO               ) (FRCP 12(b)(1) and 12(b)(6)
       BEACH POLICE DEPARTMENT,             )
  10   CITY OF REDONDO BEACH                )
       POLICE CHIEF JOSEPH                  )
  11   LEONARDI, and DOES 1 to 10,          )
                                            )
  12               Defendants.              )
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  14 IT IS HEREBY CERTIFIED THAT:
           I, the undersigned, am a citizen of the United States and am at least eighteen
  15 years of age. My business address is 415 Diamond Street, Redondo Beach,
     California 90277-0639.
  16
              I am not a party to the above-entitled action. I have caused service of:
  17   [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
        FOR LACK OF SUBJECT MATTER JURISDICTION AND FAILURE TO
  18          STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED
                                    (FRCP 12(b)(1) and 12(b)(6)
  19   on the following party by electronically filing the foregoing with the Clerk of the
       District Court using its ECF System, which electronically notifies them.
  20   Electronically filed documents have been served conventionally by the filer to:
  21    Charles Nichols,                          Edmun G. Brown, Governor
        P.O. Box 1302                             Office of the Governor
  22    Redondo Beach, CA 90278                   300 South Spring Street
        Plaintiff In Pro Per                      Los Angeles, CA 90013
  23                                              Defendant
        Kamala D. Harris, Attorney General
  24    Office of the Attorney General
        300 South Spring Street
  25    Los Angeles, CA 90013
        Defendant
  26          I declare under penalty of perjury that the foregoing is true and correct.
  27
       Executed on January 30, 2012.
                                                    /s/ Jennifer Espinoza
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 [PROPOSED] ORDER                               3                    09-CV-2371 IEG (BGS)
